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      EXHIBIT 11%
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Document Sought to be Sealed
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From:                               Mumm, Laura C. <LMumm@gibsondunn.com>
Sent:                               Tuesday, December 15, 2020 12:55 PM
To:                                 Matthew Montgomery; Kutscher Clark, Martie; Anne Davis; Cari Laufenberg; Stein,
                                    Deborah L.; Falconer, Russ; Davis, Colin B.; Streit, Craig; Swanson, Alexander; Sullivan,
                                    Luke M.
Cc:                                 Derek Loeser; Lesley Weaver; David Ko; Chris Springer; Angelica Ornelas
Subject:                            RE: 11/17 Meet and Confer Agenda


Matt,

Thank you for your email. Today we would like to discuss:

    x     Plaintiffs’ response to the meet and confer concerns raised by FB last week;
    x     Search strings for Groups 5-8;
    x     Plaintiffs’ amendments to their interrogatory responses;
    x     Materials in Plaintiffs’ productions from “Consolidated Plaintiffs”;
    x     Plaintiffs’ position on Facebook RFPs subject to stay or dismissal;
    x     Plaintiffs’ document search and collection strategy for individual RFPs

With respect to Plaintiffs’ request that we hold separate meet and confers on search strings, we have set aside four
hours each week to meet and confer with Plaintiffs. Search strings should be the parties’ priority at this stage, and we
should discuss them during the four hours we have already set aside. If ultimately more time is needed, we can discuss
it.

Thanks,
Laura

Laura C. Mumm

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
200 Park Avenue, New York, NY 10166-0193
Tel +1 212.351.2404 • Fax +1 212.817.9504
LMumm@gibsondunn.com • www.gibsondunn.com



From: Matthew Montgomery <mmontgomery@bfalaw.com>
Sent: Monday, December 14, 2020 8:13 PM
To: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Anne Davis <adavis@bfalaw.com>; Cari Laufenberg
<claufenberg@kellerrohrback.com>; Stein, Deborah L. <DStein@gibsondunn.com>; Falconer, Russ
<RFalconer@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>; Streit, Craig <CStreit@gibsondunn.com>; Swanson, Alexander
<ASwanson@gibsondunn.com>; Sullivan, Luke M. <LSullivan@gibsondunn.com>
Cc: Derek Loeser <dloeser@kellerrohrback.com>; Lesley Weaver <lweaver@bfalaw.com>; David Ko
<dko@kellerrohrback.com>; Chris Springer <cspringer@kellerrohrback.com>; Angelica Ornelas <aornelas@bfalaw.com>
Subject: RE: 11/17 Meet and Confer Agenda

[External Email]
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Counsel,

Plaintiffs propose the following agenda items for our next meet and confer:

    x     Delivery of Privilege Logs for E&Y and PwC
    x     Plaintiffs’ RFPs 14-17
    x     Production in response to Discovery Order No. 9
    x     Timing of FB’s document production
    x     Follow up re document Facebook produced about privacy settings
    x     Deposition transcripts and written discovery responses from related regulatory actions
    x     Stipulation re voluntary dismissal of plaintiffs
    x     Expert stip
    x     ADI briefing schedule
    x     Facebook’s amended interrogatory responses, including verification of Facebook’s interrogatory responses

Regarding process, Plaintiffs propose the creation of smaller working groups where appropriate—such as for negotiation
of search terms this week—that would meet separately from the standing meet and confer calls. Plaintiffs believe that
this would streamline communication between the parties. Plaintiffs are available to confer regarding search terms on
Wednesday at 11am.




From: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>
Sent: Wednesday, December 2, 2020 5:04 PM
To: Matthew Montgomery <mmontgomery@bfalaw.com>; Anne Davis <adavis@bfalaw.com>; Cari Laufenberg
<claufenberg@kellerrohrback.com>; Stein, Deborah L. <DStein@gibsondunn.com>; Falconer, Russ
<RFalconer@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>; Streit, Craig <CStreit@gibsondunn.com>; Swanson, Alexander
<ASwanson@gibsondunn.com>; Sullivan, Luke M. <LSullivan@gibsondunn.com>
Cc: Derek Loeser <dloeser@kellerrohrback.com>; Lesley Weaver <lweaver@bfalaw.com>; David Ko
<dko@kellerrohrback.com>; Chris Springer <cspringer@kellerrohrback.com>; Angelica Ornelas <aornelas@bfalaw.com>
Subject: RE: 11/17 Meet and Confer Agenda

Counsel,

Could we please start tomorrow’s meet and confer at 2pm tomorrow, instead of 1pm?

Items Facebook would like to address include:

    x     Plaintiffs’ proposed stipulation to dismiss certain named plaintiffs
    x     Search terms and methodology for Plaintiffs’ productions in response to Facebook’s RFPs
    x     Timing of Plaintiffs’ supplemental interrogatory responses
    x     Timing of Plaintiffs’ document productions

Thanks,
Martie

Martie Kutscher Clark

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1881 Page Mill Road, Palo Alto, CA 94304-1211
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               Case 3:18-md-02843-VC Document 1012-10 Filed 08/26/22 Page 4 of 9
Tel +1 650.849.5348 • Fax +1 650.849.5048
MKutscherClark@gibsondunn.com • www.gibsondunn.com



From: Matthew Montgomery <mmontgomery@bfalaw.com>
Sent: Monday, November 30, 2020 3:02 PM
To: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Anne Davis <adavis@bfalaw.com>; Cari Laufenberg
<claufenberg@kellerrohrback.com>; Stein, Deborah L. <DStein@gibsondunn.com>; Falconer, Russ
<RFalconer@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>; Streit, Craig <CStreit@gibsondunn.com>; Swanson, Alexander
<ASwanson@gibsondunn.com>; Sullivan, Luke M. <LSullivan@gibsondunn.com>
Cc: Derek Loeser <dloeser@kellerrohrback.com>; Lesley Weaver <lweaver@bfalaw.com>; David Ko
<dko@kellerrohrback.com>; Chris Springer <cspringer@kellerrohrback.com>; Angelica Ornelas <aornelas@bfalaw.com>
Subject: RE: 11/17 Meet and Confer Agenda

[External Email]
Counsel,

Plaintiffs propose that the parties address the following topics during tomorrow’s meet and confer:

    x   The outstanding privilege logs for documents withheld by FB in connection with document productions from EY
        and PwC
    x   Production in response to Discovery Order No. 9
    x   Follow up regarding Privacy Settings Data
    x   Additional proposed custodians
    x   Stipulation re: briefing on confidentiality designations
    x   Expert stipulation
    x   Plaintiffs’ RFPs 14-17

We look forward to speaking then.



From: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>
Sent: Tuesday, November 24, 2020 1:13 PM
To: Anne Davis <adavis@bfalaw.com>; Matthew Montgomery <mmontgomery@bfalaw.com>; Cari Laufenberg
<claufenberg@kellerrohrback.com>; Stein, Deborah L. <DStein@gibsondunn.com>; Falconer, Russ
<RFalconer@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>; Streit, Craig <CStreit@gibsondunn.com>; Swanson, Alexander
<ASwanson@gibsondunn.com>; Sullivan, Luke M. <LSullivan@gibsondunn.com>
Cc: Derek Loeser <dloeser@kellerrohrback.com>; Lesley Weaver <lweaver@bfalaw.com>; David Ko
<dko@kellerrohrback.com>; Chris Springer <cspringer@kellerrohrback.com>; Angelica Ornelas <aornelas@bfalaw.com>
Subject: RE: 11/17 Meet and Confer Agenda

Anne,

As we discussed last week, Facebook will have updates on these items after the Thanksgiving holiday given the vast
amount of other items we are working on currently. As we told you, Facebook is closed this week and we have been
focused on the materials we provided you at the end of last week (including nearly 500 pages of interrogatory
responses) and our numerous upcoming deadlines and other agenda items. We think it would be most productive if we
pick up again next week.

We’d appreciate if Plaintiffs were prepared next week to discuss:
                                                           3
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    x     Plaintiffs’ proposed stipulation to dismiss certain named plaintiffs;
    x     Plaintiffs’ amended interrogatory responses, including their timing and substance;
    x     Plaintiffs’ targeted productions;
    x     Whether Plaintiffs continue to object to Facebook’s RFP 14.

Have a Happy Thanksgiving.

Thanks,
Martie



Martie Kutscher Clark

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1881 Page Mill Road, Palo Alto, CA 94304-1211
Tel +1 650.849.5348 • Fax +1 650.849.5048
MKutscherClark@gibsondunn.com • www.gibsondunn.com



From: Anne Davis <adavis@bfalaw.com>
Sent: Tuesday, November 24, 2020 11:02 AM
To: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Matthew Montgomery <mmontgomery@bfalaw.com>;
Cari Laufenberg <claufenberg@kellerrohrback.com>; Stein, Deborah L. <DStein@gibsondunn.com>; Falconer, Russ
<RFalconer@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>; Streit, Craig <CStreit@gibsondunn.com>; Swanson, Alexander
<ASwanson@gibsondunn.com>; Sullivan, Luke M. <LSullivan@gibsondunn.com>
Cc: Derek Loeser <dloeser@kellerrohrback.com>; Lesley Weaver <lweaver@bfalaw.com>; David Ko
<dko@kellerrohrback.com>; Chris Springer <cspringer@kellerrohrback.com>; Angelica Ornelas <aornelas@bfalaw.com>
Subject: RE: 11/17 Meet and Confer Agenda

[External Email]
Counsel,

As we discussed last week, Plaintiffs propose that the parties address the following issues on today’s meet and confer:

    x     The outstanding privilege logs for documents withheld by FB in connection with document productions from EY
          and PwC
    x     Production in response to Discovery Order No. 9
    x     Follow up regarding Privacy Settings Data
    x     Additional proposed custodians
    x     Stipulation re: briefing on confidentiality designations
    x     Expert stipulation
    x     Plaintiffs’ RFPs 14-17

Regards,

Anne

Anne Davis
                                                             4
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BLEICHMAR FONTI & AULD LLP
555 12th St., Suite 1600, Oakland, CA 94607
415.445.4016 | adavis@bfalaw.com



From: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>
Sent: Thursday, November 19, 2020 11:54 AM
To: Matthew Montgomery <mmontgomery@bfalaw.com>; Cari Laufenberg <claufenberg@kellerrohrback.com>; Stein,
Deborah L. <DStein@gibsondunn.com>; Falconer, Russ <RFalconer@gibsondunn.com>; Davis, Colin B.
<CDavis@gibsondunn.com>; Mumm, Laura C. <LMumm@gibsondunn.com>; Streit, Craig <CStreit@gibsondunn.com>;
Swanson, Alexander <ASwanson@gibsondunn.com>; Sullivan, Luke M. <LSullivan@gibsondunn.com>
Cc: Derek Loeser <dloeser@kellerrohrback.com>; Anne Davis <adavis@bfalaw.com>; Lesley Weaver
<lweaver@bfalaw.com>; David Ko <dko@kellerrohrback.com>; Chris Springer <cspringer@kellerrohrback.com>;
Angelica Ornelas <aornelas@bfalaw.com>
Subject: RE: 11/17 Meet and Confer Agenda

Matt,

Thank you for your email. Today FB would like to discuss:

    x   Plaintiffs’ proposed stipulation to dismiss certain named plaintiffs;
    x   Plaintiffs’ amended interrogatory responses;
    x   Plaintiffs’ position on FB’s RFP 14 (regarding alleged emotional suffering)
    x   The status of Plaintiffs’ productions;
    x   Plaintiffs’ proposed revisions to the stipulation setting a briefing schedule on the confidentiality dispute.

With respect to the expert stipulation, Colin is not available today but will send a redline.

We received David’s email regarding RFPs 14-17. Given the number of issues the parties are working through currently,
the volume of work product FB is preparing this week (all of which requires our client’s attention), and next week’s
holiday, FB would appreciate if we could focus on RFPs 14-17 the week following Thanksgiving.

Thank you,
Martie

Martie Kutscher Clark

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1881 Page Mill Road, Palo Alto, CA 94304-1211
Tel +1 650.849.5348 • Fax +1 650.849.5048
MKutscherClark@gibsondunn.com • www.gibsondunn.com



From: Matthew Montgomery <mmontgomery@bfalaw.com>
Sent: Wednesday, November 18, 2020 1:20 PM
To: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Cari Laufenberg <claufenberg@kellerrohrback.com>;
Stein, Deborah L. <DStein@gibsondunn.com>; Falconer, Russ <RFalconer@gibsondunn.com>; Davis, Colin B.
<CDavis@gibsondunn.com>; Mumm, Laura C. <LMumm@gibsondunn.com>; Streit, Craig <CStreit@gibsondunn.com>;
Swanson, Alexander <ASwanson@gibsondunn.com>; Sullivan, Luke M. <LSullivan@gibsondunn.com>
Cc: Derek Loeser <dloeser@kellerrohrback.com>; Anne Davis <adavis@bfalaw.com>; Lesley Weaver
                                                              5
                 Case 3:18-md-02843-VC Document 1012-10 Filed 08/26/22 Page 7 of 9
<lweaver@bfalaw.com>; David Ko <dko@kellerrohrback.com>; Chris Springer <cspringer@kellerrohrback.com>;
Angelica Ornelas <aornelas@bfalaw.com>
Subject: RE: 11/17 Meet and Confer Agenda

[External Email]
Counsel,

Plaintiffs propose that the parties address the following issues at their next meet and confer:

    x     The outstanding privilege logs for documents withheld by FB in connection with document productions from EY
          and PwC
    x     Production in response to Discovery Order No. 9
    x     Expert Stip
    x     Follow up regarding Privacy Settings Data
    x     Additional proposed custodians
    x     Plaintiffs’ RFPs 14-17
    x     Parakilas documents described in 10/27/20 letter from Plaintiffs
    x     Whether Facebook intended to omit the following previously proposed terms from their November 13th search
          term proposal, and if so, why:
              o




From: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>
Sent: Monday, November 16, 2020 8:21 PM
To: Cari Laufenberg <claufenberg@kellerrohrback.com>; Stein, Deborah L. <DStein@gibsondunn.com>; Falconer, Russ
<RFalconer@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>; Streit, Craig <CStreit@gibsondunn.com>; Swanson, Alexander
<ASwanson@gibsondunn.com>; Sullivan, Luke M. <LSullivan@gibsondunn.com>
Cc: Matthew Montgomery <mmontgomery@bfalaw.com>; Derek Loeser <dloeser@kellerrohrback.com>; Anne Davis
<adavis@bfalaw.com>; Lesley Weaver <lweaver@bfalaw.com>; David Ko <dko@kellerrohrback.com>; Chris Springer
<cspringer@kellerrohrback.com>; Angelica Ornelas <aornelas@bfalaw.com>
Subject: RE: 11/17 Meet and Confer Agenda

Cari,

Thank you for your email. Can we please start at 2:30 tomorrow instead of 2:00?

Facebook would like to discuss the following topics:

    x     Plaintiffs’ responses to Facebook’s interrogatories. Please make sure someone from your team is on who is
          knowledgeable about Plaintiffs’ responses.
    x     Plaintiffs’ proposed stipulation regarding the “prioritized Named Plaintiffs.”
    x     Facebook’s proposed stipulation setting a briefing schedule regarding the confidentiality of leaked materials. To
          answer Matt’s question, we intend the briefing to address the documents Plaintiffs asked Facebook to de-
          designate in their August 21, 2020 letter, as well as the document referenced in Facebook’s Emergency
          Administrative Motion to Seal (Dkt. 530).

Thanks,
Martie
                                                              6
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Martie Kutscher Clark

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1881 Page Mill Road, Palo Alto, CA 94304-1211
Tel +1 650.849.5348 • Fax +1 650.849.5048
MKutscherClark@gibsondunn.com • www.gibsondunn.com



From: Cari Laufenberg <claufenberg@KellerRohrback.com>
Sent: Monday, November 16, 2020 2:56 PM
To: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Stein, Deborah L. <DStein@gibsondunn.com>;
Falconer, Russ <RFalconer@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>; Streit, Craig <CStreit@gibsondunn.com>; Swanson, Alexander
<ASwanson@gibsondunn.com>; Sullivan, Luke M. <LSullivan@gibsondunn.com>
Cc: Matthew Montgomery <mmontgomery@bfalaw.com>; Derek Loeser <dloeser@KellerRohrback.com>; Anne Davis
<adavis@bfalaw.com>; Lesley Weaver <lweaver@bfalaw.com>; David Ko <dko@KellerRohrback.com>; Chris Springer
<cspringer@KellerRohrback.com>; Angelica Ornelas <aornelas@bfalaw.com>
Subject: 11/17 Meet and Confer Agenda

[External Email]
Counsel,

For the upcoming meet and confer tomorrow at 2 pm PT, Plaintiffs propose that the parties address the
following agenda items:

     1) The outstanding privilege logs for documents withheld by FB in connection with document productions
        from EY and PwC
     2) Rolling production for Groups 1-4 – timing
     3) Production in response to Discovery Order No. 9
     4) Expert Stip
     5) Follow up regarding Privacy Settings Data
     6) Clarification on hit reports provided for Groups 5-8
     7) The complete list of term        and “terms run” for the search terms for the Group 1-4 custodians,
        along with the document hits, hits with family, and review population

Thank you,
Cari


Cari Campen Laufenberg
Keller Rohrback L.L.P.
1201 Third Ave., Suite 3200
Seattle, WA 98101
Phone: (206) 623-1900
Direct Dial: (206) 224-7550
Fax: (206) 623-3384
E-mail: claufenberg@kellerrohrback.com
URL: http://www.krcomplexlit.com

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